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                                          BEST & FLANAGAN, LLP and
                                      7   DANIEL L. GRIMSRUD

                                      8
                                                                       UNITED STATE DISTRICT COURT
                                      9
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                     10

                                     11   PACKLANE, INC.,                                  )    Case No.: 23-cv-03496-KAW
Gordon Rees Scully Mansukhani, LLP




                                                                                           )
   275 Battery Street, Suite 2000




                                     12                                 Plaintiff,         )    Assigned to Hon. Haywood S. Gilliam, Jr.
     San Francisco, CA 94111




                                                                                           )    for all proceedings
                                     13   vs.                                              )
                                                                                           )    FIRST AMENDED ANSWER OF
                                     14   BEST & FLANAGAN, LLP and DANIEL L.                    DEFENDANTS BEST & FLANAGAN,
                                                                                           )
                                          GRIMSRUD,                                             LLP AND DANIEL L. GRIMSRUD
                                     15                                                    )
                                                                        Defendants.        )
                                     16                                                    )
                                                                                           )
                                     17

                                     18          Defendants BEST & FLANAGAN, LLP and DANIEL L. GRIMSRUD (collectively

                                     19   “Defendants”), pursuant to Federal Rule of Civil Procedure 15(a)(1), submit their First Amended

                                     20   Answer to Plaintiff PACKLANE, INC.’s Complaint as follows:

                                     21                                              COMPLAINT

                                     22          1.      In response to Paragraph 1 of the Complaint, Defendants admit that Packlane is a

                                     23   company headquartered in San Francisco, California; deny that Packlane was sold to Digital

                                     24   Room; admit that Packlane sold all or substantially most of all assets to Digital Room; admit that

                                     25   Digital Room is headquartered in Sherman Oaks, California; deny that Packlane could have

                                     26   readily avoided taxes on the sale of its assets to Digital Room; deny that defendants did not

                                     27   exercise the minimum skill and competence required of them.

                                     28          2.      In response to Paragraph 2 of the Complaint, Defendants admit that they had an
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                                                   FIRST AMENDED ANSWER OF DEFENDANTS BEST & FLANAGAN, LLP AND DANIEL L. GRIMSRUD
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                                      1   obligation to provide Packlane with legal advice; deny that said legal advice necessarily included

                                      2   tax-related advice; deny that another form of transaction was possible and that they had an

                                      3   obligation to advise regarding other forms of transactions that were not realistic possibilities;

                                      4   admit that the price of the sale of Packlane’s assets to Digital Room was approximately $30

                                      5   million.

                                      6          3.       In response to Paragraph 3 of the Complaint, Defendants deny they were

                                      7   incompetent or that they failed to provide advice that they were required to provide; admit that

                                      8   Packlane learned of its apparent tax liability after close of the sale of assets to Digital Room;

                                      9   deny that defendants could and should have prevented the sale of assets or any tax liability

                                     10   stemming directly therefrom.

                                     11          4.       In response to Paragraph 4 of the Complaint, Defendants deny that they provided
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                                     12   incompetent representation; deny that they were not authorized to provide advice to Packlane;
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                                     13   admit that they were not admitted to the California Bar; deny that they were required to be

                                     14   admitted to the California Bar; deny that they engaged in the unauthorized practice of law in

                                     15   California.

                                     16          5.       In response to Paragraph 5 of the Complaint, Defendants deny that they practiced

                                     17   law without a license in California; deny that they provided incompetent and/or defective legal

                                     18   advice; deny that they were obligated to advise Packlane specifically on tax-related issues; deny

                                     19   that any form of transaction other than an asset sale was a realistic possibility; deny that they

                                     20   breached any obligations owed to Packlane, that they were negligent or committed malpractice,

                                     21   or that they breached professional and/or fiduciary duties to Packlane; admit that Packlane filed a

                                     22   complaint asserting the causes of action described therein.

                                     23          6.       In response to Paragraph 6 of the Complaint, Defendants admit the allegations

                                     24   therein.

                                     25          7.       In response to Paragraph 7 of the Complaint, Defendants admit the allegations
                                     26   therein.

                                     27          8.       In response to Paragraph 8 of the Complaint, Defendants admit the allegations

                                     28   therein.
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                                      1           9.      In response to Paragraph 9 of the Complaint, Defendants deny the allegations

                                      2   therein.

                                      3           10.     In response to Paragraph 10 of the Complaint, Defendants deny the allegations

                                      4   therein.

                                      5           11.     In response to Paragraph 11 of the Complaint, Defendants admit that Best &

                                      6   Flanagan entered into a written engagement agreement with Packlane, that they provided legal

                                      7   advice and services to Packlane, including as to the Digital Room transaction, and that they

                                      8   billed Packlane for said advice and services.

                                      9           12.     In response to Paragraph 12 of the Complaint, Defendants admit that Digital

                                     10   Room was interested in purchasing Packlane’s assets; lack sufficient information regarding when

                                     11   Digital Room’s interest first arose or was first communicated to Packlane to admit or deny the
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                                     12   same.
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                                     13           13.     In response to Paragraph 13 of the Complaint, Defendants admit that Digital

                                     14   Room was interested in purchasing Packlane’s assets; lack sufficient information regarding

                                     15   Digital Room’s motivation for said purchase to admit or deny the same.

                                     16           14.     In response to Paragraph 14 of the Complaint, Defendants admit that that Digital

                                     17   Room was interested in purchasing Packlane’s assets; lack sufficient information regarding when

                                     18   Digital Room’s offer of approximately $30 million was first expressed to admit or deny the

                                     19   same; admit that the ultimate sale price was approximately $30 million.

                                     20           15.     In response to Paragraph 15 of the Complaint, Defendants admit the allegations

                                     21   therein.

                                     22           16.     In response to Paragraph 16 of the Complaint, Defendants admit the allegations

                                     23   therein, except that they deny that their agreement was “without reservation” insofar as they do

                                     24   not understand the meaning of that phrase in this context.

                                     25           17.     In response to Paragraph 17 of the Complaint, Defendants admit that the scope of
                                     26   their representation was not expressly limited at the outset of said representation; deny that they

                                     27   never discussed with Packlane obtaining tax-related advice from other professionals throughout

                                     28   the course of the transaction with Digital Room.
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                                      1          18.      In response to Paragraph 18 of the Complaint, Defendants do not understand the

                                      2   meaning of the phrase “held himself out as” in this context; admit that the description of Mr.

                                      3   Grimsrud’s areas of practice on Best & Flanagan’s website includes the areas alleged therein; do

                                      4   not understand to which areas of law the phrase “such advice” refers to in this paragraph; admit

                                      5   that Mr. Grimsrud never expressed to Packlane that he and Best & Flanagan could not provide

                                      6   any specific area of advice; deny that they never discussed with Packlane tax-related advice from

                                      7   other professionals throughout the course of the transaction with Digital Room.

                                      8          19.      In response to Paragraph 19 of the Complaint, Defendants admit that Packlane

                                      9   was located in San Francisco, California; lack personal knowledge regarding the personal

                                     10   residence of Packlane’s CEO.

                                     11          20.      In response to Paragraph 20 of the Complaint, Defendants admit that they
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                                     12   provided advice to Packlane during the subject period regarding the Digital Room transaction;
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                                     13   lack sufficient knowledge regarding the exact number of attorneys from Best & Flanagan that

                                     14   provided said advice.

                                     15          21.      In response to Paragraph 21 of the Complaint, Defendants do not understand what

                                     16   the phrase “such legal work” refers to in this context; admit that they billed Packlane for legal

                                     17   services provided to it, including in connection with the Digital Room transaction.

                                     18          22.      In response to Paragraph 22 of the Complaint, Defendants admit the allegations

                                     19   therein.

                                     20          23.      In response to Paragraph 23 of the Complaint, Defendants admit the allegations

                                     21   therein.

                                     22          24.      In response to Paragraph 24 of the Complaint, Defendants do not understand the

                                     23   phrase “providing such work gave legal advice” in this context and do not understand to which

                                     24   “senior executive” this paragraph refers; admit as a general matter that attorneys at Best &

                                     25   Flanagan provide legal advice and services to Packlane; deny that they provided any legal advice
                                     26   or services to any Packlane employee’s in their individual capacities, i.e. for personal matters

                                     27   unrelated to Packlane.

                                     28          25.      In response to Paragraph 25 of the Complaint, Defendants do not understand to
                                                                                          -4-
                                                     FIRST AMENDED ANSWER OF DEFENDANTS BEST & FLANAGAN, LLP AND DANIEL L. GRIMSRUD
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                                      1   whom to the phrase “That Packlane executive” refers in this context and cannot admit or deny

                                      2   that portion of this paragraph; admit that they provided legal advice to individuals physically

                                      3   located in California who were Packlane employees.

                                      4          26.      In response to Paragraph 26 of the Complaint, Defendants admit the allegations

                                      5   therein.

                                      6          27.      In response to Paragraph 27 of the Complaint, Defendants admit that Mr.

                                      7   Grimsrud provided advice via email and telephone calls to Miriam Brafman; lack sufficient

                                      8   knowledge regarding Ms. Brafman’s physical location at all times of such communications.

                                      9          28.      In response to Paragraph 28 of the Complaint, Defendants admit the allegations

                                     10   therein.

                                     11          29.      In response to Paragraph 29 of the Complaint, Defendants deny the allegations
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                                     12   therein.
     San Francisco, CA 94111




                                     13          30.      In response to Paragraph 30 of the Complaint, Defendants admit the allegations

                                     14   therein.

                                     15          31.      In response to Paragraph 31 of the Complaint, Defendants admit the allegations

                                     16   therein.

                                     17          32.      In response to Paragraph 32 of the Complaint, Defendants admit the allegations

                                     18   therein.

                                     19          33.      In response to Paragraph 33 of the Complaint, Defendants aver that there are no

                                     20   allegations that require a response insofar as the allegations constitute a legal conclusion, not a

                                     21   factual contention.

                                     22          34.      In response to Paragraph 34 of the Complaint, Defendants admit the allegations

                                     23   therein.

                                     24          35.      In response to Paragraph 35 of the Complaint, Defendants deny the allegations

                                     25   therein.
                                     26          36.      In response to Paragraph 36 of the Complaint, Defendants deny the allegations

                                     27   therein.

                                     28          37.      In response to Paragraph 37 of the Complaint, Defendants deny the allegations
                                                                                          -5-
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                                      1   therein.

                                      2          38.      In response to Paragraph 38 of the Complaint, Defendants admit the allegations

                                      3   therein.

                                      4          39.      In response to Paragraph 39 of the Complaint, Defendants aver that there are no

                                      5   allegations that require a response insofar as the allegations constitute a legal conclusion, not a

                                      6   factual contention.

                                      7          40.      In response to Paragraph 40 of the Complaint, Defendants do not understand the

                                      8   phrase “parties to the possible transaction” as used in this context; admit that Packlane is a

                                      9   Delaware corporation with headquarters in San Francisco, California.

                                     10          41.      In response to Paragraph 41 of the Complaint, Defendants do not understand the

                                     11   phrase “material aspect of this transaction” as used in this context and cannot admit or deny the
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                                     12   allegations in this paragraph.
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                                     13          42.      In response to Paragraph 42 of the Complaint, Defendants lack sufficient

                                     14   information regarding the allegations in this paragraph to admit or deny the same.

                                     15          43.      In response to Paragraph 43 of the Complaint, Defendants deny the allegations

                                     16   therein.

                                     17          44.      In response to Paragraph 44 of the Complaint, Defendants deny the allegations

                                     18   therein.

                                     19          45.      In response to Paragraph 45 of the Complaint, Defendants admit the allegations

                                     20   therein.

                                     21          46.      In response to Paragraph 46 of the Complaint, Defendants admit the allegations

                                     22   therein generally, but lack sufficient information regarding Ms. Brafman’s physical location at

                                     23   the times she received communications and cannot admit or deny that specific allegation.

                                     24          47.      In response to Paragraph 47 of the Complaint, Defendants do not understand to

                                     25   what the phrase “California merger and acquisition advisory firm” refers to and cannot admit or
                                     26   deny the allegations in this paragraph.

                                     27          48.      In response to Paragraph 48 of the Complaint, Defendants deny the allegations

                                     28   therein.
                                                                                           -6-
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                                      1          49.      In response to Paragraph 49 of the Complaint, Defendants aver that there are no

                                      2   allegations that require a response insofar as the allegations constitute a legal conclusion, not a

                                      3   factual contention

                                      4          50.      In response to Paragraph 50 of the Complaint, Defendants admit that they had an

                                      5   obligation to provide legal services consistent with the applicable standard of care, but as to the

                                      6   remainder of the allegations therein, aver that there are no other allegations that require a

                                      7   response insofar as the allegations constitute a legal conclusion, not a factual contention.

                                      8          51.      In response to Paragraph 51 of the Complaint, Defendants admit the allegations

                                      9   therein.

                                     10          52.      In response to Paragraph 52 of the Complaint, Defendants generally admit the

                                     11   allegations therein, except for the allegation that Mr. Grimsrud is personally making statements
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                                     12   contained on Best & Flanagan’s website, which is denied.
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                                     13          53.      In response to Paragraph 53 of the Complaint, Defendants admit the allegations

                                     14   therein.

                                     15          54.      In response to Paragraph 54 of the Complaint, Defendants admit the allegations

                                     16   therein.

                                     17          55.      In response to Paragraph 55 of the Complaint, Defendants do not understand the

                                     18   phrase “corporate counsel” as used in this context and cannot admit or deny this allegations;

                                     19   admit that they undertook to provide legal representation of Packlane competently.

                                     20          56.      In response to Paragraph 56 of the Complaint, Defendants aver that there are no

                                     21   allegations that require a response insofar as the allegations constitute a legal conclusion, not a

                                     22   factual contention

                                     23          57.      In response to Paragraph 57 of the Complaint, Defendants deny the allegations

                                     24   therein.

                                     25          58.      In response to Paragraph 58 of the Complaint, Defendants deny the allegations
                                     26   therein.

                                     27          59.      In response to Paragraph 59 of the Complaint, Defendants lack personal

                                     28   knowledge regarding Digital Room’s initial indication of interest and cannot admit or deny this
                                                                                        -7-
                                                     FIRST AMENDED ANSWER OF DEFENDANTS BEST & FLANAGAN, LLP AND DANIEL L. GRIMSRUD
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                                      1   allegation; admit that Digital Room was interested in purchasing Packlane’s assets.

                                      2          60.      In response to Paragraph 60 of the Complaint, Defendants lack sufficient

                                      3   knowledge regarding these allegations and cannot admit or deny the same.

                                      4          61.      In response to Paragraph 61 of the Complaint, Defendants deny that they were

                                      5   incompetent or failed to provide required advice; admit that Packlane discovered tax issues after

                                      6   close of the sale of its assets to Digital Room.

                                      7          62.      In response to Paragraph 62 of the Complaint, Defendants admit that Packlane

                                      8   would have tax consequence stemming from the sale of its assets to Digital Room; lack sufficient

                                      9   knowledge regarding the exact amount of any such taxes due.

                                     10          63.      In response to Paragraph 63 of the Complaint, Defendants deny the allegations

                                     11   therein.
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                                     12          64.      In response to Paragraph 64 of the Complaint, Defendants deny that any other
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                                     13   form of transaction was a realistic possibility; object that this paragraph contains an incomplete

                                     14   hypothetical and calls for speculation; aver that there are no other allegations that require a

                                     15   response insofar as the allegations constitute a legal conclusion, not a factual contention.

                                     16          65.      In response to Paragraph 65 of the Complaint, Defendants admit the allegations

                                     17   therein.

                                     18          66.      In response to Paragraph 66 of the Complaint, Defendants deny that they never

                                     19   discussed possible tax implications of an asset sale to Digital Room with Packlane; admit that

                                     20   they never used the phrase “the asset sale was fully taxable.”

                                     21          67.      In response to Paragraph 67 of the Complaint, Defendants do not understand the

                                     22   phrase “sale of Packlane” as used in this context; deny that any form of transaction other than the

                                     23   sale of assets to Digital Room was a realistic possibility; deny that Packlane was unaware of the

                                     24   existence of various forms of transactions involving acquisitions, mergers, sales, etc.

                                     25          68.      In response to Paragraph 68 of the Complaint, Defendants deny that they never
                                     26   discussed possible tax implications of an asset sale to Digital Room with Packlane; admit that

                                     27   they never used the phrase “this transaction would be fully taxable at the corporate level.

                                     28          69.      In response to Paragraph 69 of the Complaint, Defendants admit that they never
                                                                                          -8-
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                                      1   expressly disclaimed responsibility for any specific area of advice, including regarding taxes;

                                      2   deny that they never advised Packlane that it needed tax-related advice from other tax

                                      3   professionals.

                                      4          70.       In response to Paragraph 70 of the Complaint, Defendants deny that it was Mr.

                                      5   Grimsrud’s responsibility to obtain an entity level tax projection; admit that Mr. Grimsrud did

                                      6   not specifically, expressly disclaim responsibility for any area of advice, including regarding

                                      7   taxes, or “warn” Packlane regarding obtaining outside tax counsel.

                                      8          71.       In response to Paragraph 71 of the Complaint, Defendants deny that they were

                                      9   responsible as alleged therein; admit that they never specifically stated “this asset sale

                                     10   transaction would, in fact be a fully taxable transaction”; deny that they never discussed possible

                                     11   tax ramifications of the asset sale with Packlane.
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                                     12          72.       In response to Paragraph 72 of the Complaint, Defendants do not know to which
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                                     13   “Packlane senior executives” this refers and cannot admit or deny the same; lack sufficient

                                     14   knowledge regarding any of Packlane’s senior executives’ mental states to admit or deny the

                                     15   allegations therein; admit that a Packlane executive named Brian Murphy expressed to

                                     16   defendants that there would be no federal tax due stemming from the transaction, would be some

                                     17   state tax due stemming from the transaction, and that he would further consult with Packlane’s

                                     18   accounting firm on tax issues related to the asset sale to Digital Room.

                                     19          73.       In response to Paragraph 73 of the Complaint, Defendants do not know to whom

                                     20   “those executives” refers and cannot admit or deny the same; admit that a Packlane executive

                                     21   named Brian Murphy expressed to defendants that there would be no federal tax due stemming

                                     22   from the transaction, would be some state tax due stemming from the transaction, and that he

                                     23   would further consult with Packlane’s accounting firm on tax issues related to the asset sale to

                                     24   Digital Room.

                                     25          74.       In response to Paragraph 74 of the Complaint, Defendants admit the allegations
                                     26   therein.

                                     27          75.       In response to Paragraph 75 of the Complaint, Defendants admit that Mr.

                                     28   Grimsrud relied on information from Brian Murphy, including information Mr. Murphy received
                                                                                      -9-
                                                     FIRST AMENDED ANSWER OF DEFENDANTS BEST & FLANAGAN, LLP AND DANIEL L. GRIMSRUD
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                                      1   from Packlane’s outside accounting firm, in connection with the sale of assets to Digital Room;

                                      2   aver that there are no other allegations that require a response insofar as the allegations constitute

                                      3   a legal conclusion, not a factual contention.

                                      4           76.     In response to Paragraph76 of the Complaint, Defendants do not understand to

                                      5   what the phrase “such taxes” refers to in this context and cannot admit or deny this allegation;

                                      6   admit that they relied on information from Brian Murphy, including information Mr. Murphy

                                      7   received from Packlane’s outside accounting firm, in connection with the sale of assets to Digital

                                      8   Room.

                                      9           77.     In response to Paragraph 77 of the Complaint, Defendants do not understand to

                                     10   what the phrase “the topic” refers to therein and cannot admit or deny this allegation; deny that

                                     11   Mr. Grimsrud never addressed tax issues with Packlane related to the sale of its assets to Digital
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                                     12   Room.
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                                     13           78.     In response to Paragraph 78 of the Complaint, Defendants deny that they never

                                     14   addressed tax issues with Packlane related to the sale of assets to Digital Room; deny that they

                                     15   never advised Packlane that tax-related information from other tax professionals would be

                                     16   necessary; admit that they never expressly disclaimed advice in any specific area, including

                                     17   regarding taxes.

                                     18           79.     In response to Paragraph 79 of the Complaint, Defendants deny that their advice

                                     19   was defective; admit the remainder of the allegations therein.

                                     20           80.     In response to Paragraph 80 of the Complaint, Defendants lack sufficient

                                     21   information regarding whether any tax liabilities incurred by Packlane in connection with the

                                     22   sale of its assets to Digital Room have been finalized and cannot admit or deny the allegations

                                     23   therein.

                                     24           81.     In response to Paragraph 81 of the Complaint, Defendants reallege each and every

                                     25   of the responses to the foregoing paragraphs as though individually set forth herein.
                                     26           82.     In response to Paragraph 82 of the Complaint, Defendants aver that there are no

                                     27   allegations that require a response insofar as the allegations constitute a legal conclusion(s), not a

                                     28   factual contention(s).
                                                                                          -10-
                                                     FIRST AMENDED ANSWER OF DEFENDANTS BEST & FLANAGAN, LLP AND DANIEL L. GRIMSRUD
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                                      1          83.      In response to Paragraph 83 of the Complaint, Defendants aver that there are no

                                      2   allegations that require a response insofar as the allegations constitute a legal conclusion(s), not a

                                      3   factual contention(s).

                                      4          84.      In response to Paragraph 84 of the Complaint, Defendants deny the allegations

                                      5   therein.

                                      6          85.      In response to Paragraph 85 of the Complaint, Defendants deny the allegations

                                      7   therein.

                                      8          86.      In response to Paragraph 86 of the Complaint, Defendants deny the allegations

                                      9   therein.

                                     10          87.      In response to Paragraph 87 of the Complaint, Defendants deny the allegations

                                     11   therein.
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                                     12          88.      In response to Paragraph 88 of the Complaint, Defendants reallege each and every
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                                     13   of the responses to the foregoing paragraphs as though individually set forth herein.

                                     14          89.      In response to Paragraph 89 of the Complaint, Defendants aver that there are no

                                     15   allegations that require a response insofar as the allegations constitute a legal conclusion(s), not a

                                     16   factual contention(s).

                                     17          90.      In response to Paragraph 90 of the Complaint, Defendants deny the allegations

                                     18   therein.

                                     19          91.      In response to Paragraph 91 of the Complaint, Defendants deny the allegations

                                     20   therein.

                                     21          92.      In response to Paragraph 92 of the Complaint, Defendants deny the allegations

                                     22   therein.

                                     23          93.      In response to Paragraph 93 of the Complaint, Defendants deny the allegations

                                     24   therein.

                                     25          94.      In response to Paragraph 94 of the Complaint, Defendants reallege each and every
                                     26   of the responses to the foregoing paragraphs as though individually set forth herein.

                                     27          95.      In response to Paragraph 95 of the Complaint, Defendants aver that there are no

                                     28   allegations that require a response insofar as the allegations constitute a legal conclusion(s), not a
                                                                                           -11-
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                                      1   factual contention(s); specifically deny applicability of the California Rules of Professional

                                      2   Conduct to the conduct at issue in this matter.

                                      3           96.     In response to Paragraph 96 of the Complaint, Defendants deny the allegations

                                      4   therein.

                                      5           97.     In response to Paragraph 97 of the Complaint, Defendants deny the allegations

                                      6   therein.

                                      7           98.     In response to Paragraph 98 of the Complaint, Defendants deny the allegations

                                      8   therein.

                                      9                                         PLAINTIFF’S PRAYER

                                     10           Defendants deny that Plaintiff is entitled to the damages requested, or to any damages at

                                     11   all, that Plaintiff is entitled to Judgment against Defendants or in its favor, and that Plaintiff is
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                                     12   entitled to any relief from this or any other court against these answering Defendants.
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                                     13                                      AFFIRMATIVE DEFENSES

                                     14                                  FIRST AFFIRMATIVE DEFENSE
                                     15                                      (Failure to Mitigate Damages)
                                     16           Plaintiff failed to mitigate its damages, if any, and accordingly, is not entitled to the relief

                                     17   sought in the Complaint. Plaintiff has failed to pursue and/or exhaust all means for reducing any

                                     18   tax liability arising from the sale of its assets to Digital Room, including, but not limited to,

                                     19   appeals with the Internal Revenue Service.

                                     20                                 SECOND AFFIRMATIVE DEFENSE
                                     21                                           (Comparative Fault)
                                     22           If negligence is found on the part of these Defendants, which is expressly denied, that

                                     23   said negligence should be compared with the negligence of the Plaintiff, and all other parties

                                     24   herein, and apportioned accordingly. Specifically, Plaintiff was negligent in that it provided tax-

                                     25   related information to Defendants, upon which Defendants relied, in connection with the sale of
                                     26   Plaintiff’s assets to Digital Room and said information was inaccurate and/or incomplete.

                                     27   Plaintiff represented to Defendants that it would consult with its outside accounting firm

                                     28   regarding the sale of its assets to Digital Room, but Plaintiff failed to do so in an adequate and/or
                                                                                          -12-
                                                     FIRST AMENDED ANSWER OF DEFENDANTS BEST & FLANAGAN, LLP AND DANIEL L. GRIMSRUD
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                                      1   timely manner.

                                      2                                 THIRD AFFIRMATIVE DEFENSE
                                      3                                            (Unclean Hands)
                                      4          The Complaint is barred by the doctrine of unclean hands. Plaintiff was an active

                                      5   participant in the conduct alleged in the Complaint. Plaintiff provided inaccurate and/or

                                      6   incomplete tax-related information to Defendants in connection with the sale of Plaintiff’s assets

                                      7   to Digital Room. Defendants relied upon said inaccurate and/or incomplete information.

                                      8   Plaintiff represented to Defendants that it would consult with its outside accounting firm

                                      9   regarding the sale of its assets to Digital Room, but Plaintiff failed to do so in an adequate and/or

                                     10   timely manner.

                                     11                                FOURTH AFFIRMATIVE DEFENSE
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                                     12                                          (Waiver & Estoppel)
     San Francisco, CA 94111




                                     13          Plaintiff has waived and is estopped and barred from alleging the matters set forth in the

                                     14   Complaint. Insofar as Plaintiff’s alleged damages, if any there are, resulted from Plaintiff’s own

                                     15   conduct, it is estopped from asserting the claim in its Complaint. Specifically, Plaintiff provided

                                     16   inaccurate and/or incomplete tax-related information to Defendants in connection with the sale of

                                     17   Plaintiff’s assets to Digital Room. Defendants relied upon said inaccurate and/or incomplete

                                     18   information. Plaintiff represented to Defendants that it would consult with its outside accounting

                                     19   firm regarding the sale of its assets to Digital Room, but Plaintiff failed to do so in an adequate

                                     20   and/or timely manner.

                                     21                                 FIFTH AFFIRMATIVE DEFENSE
                                     22                                              (Active Fault)
                                     23          That if Plaintiff suffered any loss or damage in this action, which is denied, it was the

                                     24   result of Plaintiff’s own active fault with respect to the matters alleged in the Complaint, and that

                                     25   such wrongful conduct proximately caused or contributed to whatever damages Plaintiff seeks
                                     26   and that, therefore, Plaintiff’s purported causes of action are barred by such act, performance or

                                     27   conduct. Among other conduct, Plaintiff provided inaccurate and/or incomplete tax-related

                                     28   information to Defendants in connection with the sale of Plaintiff’s assets to Digital Room.
                                                                                        -13-
                                                   FIRST AMENDED ANSWER OF DEFENDANTS BEST & FLANAGAN, LLP AND DANIEL L. GRIMSRUD
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                                      1   Defendants relied upon said inaccurate and/or incomplete information. Plaintiff represented to

                                      2   Defendants that it would consult with its outside accounting firm regarding the sale of its assets

                                      3   to Digital Room, but Plaintiff failed to do so in an adequate and/or timely manner.

                                      4                                  SIXTH AFFIRMATIVE DEFENSE
                                      5                   (Complaint barred by Sole Negligence or Willful Misconduct)
                                      6          That any alleged agreements between Plaintiff and Defendants are barred by Civil Code

                                      7   sections 2782, et seq. Plaintiff provided inaccurate and/or incomplete tax-related information to

                                      8   Defendants in connection with the sale of Plaintiff’s assets to Digital Room. Defendants relied

                                      9   upon said inaccurate and/or incomplete information. Plaintiff represented to Defendants that it

                                     10   would consult with its outside accounting firm regarding the sale of its assets to Digital Room,

                                     11   but Plaintiff failed to do so in an adequate and/or timely manner.
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                                     12                                SEVENTH AFFIRMATIVE DEFENSE
     San Francisco, CA 94111




                                     13                                    (Performance of all Conditions)
                                     14          That these answering Defendants have fully performed all the conditions and covenants

                                     15   required to be performed by them unless and until prevented from doing so by Plaintiff or

                                     16   because performance was excused due to impossibility, impracticality, illegality, and/or because

                                     17   it violated the public policy of the United States and/or State of California and/or State of

                                     18   Minnesota. Specifically, Defendants advised Plaintiff regarding the sale of its assets to Digital

                                     19   Room. Said sale was completed. Plaintiff was paid approximately $30 million for said sale. No

                                     20   structure for the sale other than as an asset sale was a realistic possibility and/or if another form

                                     21   of transaction had been used, the purchase price would have been lower such that Plaintiff would

                                     22   not have received more than it did as a result of the actual transaction.

                                     23                                EIGHTH AFFIRMATIVE DEFENSE
                                     24                           (No Joint and Several Liability/Apportionment)
                                     25          That any losses or damages suffered by Plaintiff herein, if in fact any there were, which is
                                     26   denied, were proximately caused by the negligence and carelessness of each of the other parties

                                     27   herein; that such negligence and carelessness should reduce any judgment against these

                                     28   answering Defendants according to the proportionate share of negligence of each of the parties,
                                                                                       -14-
                                                   FIRST AMENDED ANSWER OF DEFENDANTS BEST & FLANAGAN, LLP AND DANIEL L. GRIMSRUD
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                                      1   according to the doctrine set out by the California Supreme Court in the case of American

                                      2   Motorcycle Association v. Superior Court (1978) 20 Cal.3d 578. Specifically as to Plaintiff, it

                                      3   provided inaccurate and/or incomplete tax-related information to Defendants in connection with

                                      4   the sale of Plaintiff’s assets to Digital Room. Defendants relied upon said inaccurate and/or

                                      5   incomplete information. Plaintiff represented to Defendants that it would consult with its outside

                                      6   accounting firm regarding the sale of its assets to Digital Room, but Plaintiff failed to do so in an

                                      7   adequate and/or timely manner.

                                      8                                   NINTH AFFIRMATIVE DEFENSE
                                      9                                        (Lack of Necessary Parties)
                                     10           That the Plaintiff herein has failed to include, as necessary parties, potential defendants

                                     11   who are indispensable to the relief sought herein, and these answering Defendants are not
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                                     12   responsible for their actions, directly, indirectly, vicariously or in any other manner.
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                                     13   Specifically, Plaintiff has not included as a defendant the outside accounting firm whose advice

                                     14   it sought with respect to the sale of its assets to Digital Room.

                                     15                                   TENTH AFFIRMATIVE DEFENSE
                                     16                                             (Standard of Care)
                                     17           At all times, these Defendants’ conduct comported with the appropriate standard of care.

                                     18   Specifically, Defendants advised Plaintiff regarding the sale of its assets to Digital Room. Said

                                     19   sale was completed. Plaintiff was paid approximately $30 million for said sale. No structure for

                                     20   the sale other than as an asset sale was a realistic possibility and/or if another form of transaction

                                     21   had been used, the purchase price would have been lower such that Plaintiff would not have

                                     22   received more than it did as a result of the actual transaction. Furthermore, Defendants were not

                                     23   required by be licensed to practice law in California to perform the services they rendered to

                                     24   Plaintiff.

                                     25                                 ELEVENTH AFFIRMATIVE DEFENSE
                                     26                                          (Compliance with Laws)
                                     27           Defendants allege that they has complied with all applicable regulations, codes, statutes,

                                     28   and other laws. Specifically, Defendants advised Plaintiff regarding the sale of its assets to
                                                                                        -15-
                                                       FIRST AMENDED ANSWER OF DEFENDANTS BEST & FLANAGAN, LLP AND DANIEL L. GRIMSRUD
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                                      1   Digital Room. Said sale was completed. Plaintiff was paid approximately $30 million for said

                                      2   sale. No structure for the sale other than as an asset sale was a realistic possibility and/or if

                                      3   another form of transaction had been used, the purchase price would have been lower such that

                                      4   Plaintiff would not have received more than it did as a result of the actual transaction.

                                      5   Furthermore, Defendants were not required by be licensed to practice law in California to

                                      6   perform the services they rendered to Plaintiff.

                                      7                               TWELFTH AFFIRMATIVE DEFENSE
                                      8                                         (Speculative Damages)
                                      9          Defendants allege that the damages alleged by Plaintiff are speculative and conjectural

                                     10   and not caused by any acts or omissions on the part of these answering Defendants. Specifically,

                                     11   because Plaintiff has failed to pursue and/or exhaust all means for reducing any tax liability
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                                     12   arising from the sale of its assets to Digital Room, including, but not limited to, appeals with the
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                                     13   Internal Revenue Service, Plaintiffs damages are speculative and cannot be ascertained with any

                                     14   reasonable certainty. Furthermore, No structure for the sale other than as an asset sale was a

                                     15   realistic possibility and/or if another form of transaction had been used, the purchase price would

                                     16   have been different than the price of the actual transaction, making any damages related thereto

                                     17   unknown and unknowable and, therefore, unrecoverable.

                                     18                             THIRTEENTH AFFIRMATIVE DEFENSE
                                     19                                           (Breach by Plaintiff)
                                     20          Plaintiff breached any alleged agreement between it and Defendants and consequently

                                     21   Defendants were relieved from performing any obligations thereunder. Specifically, Plaintiff

                                     22   provided inaccurate and/or incomplete tax-related information to Defendants in connection with

                                     23   the sale of Plaintiff’s assets to Digital Room. Defendants relied upon said inaccurate and/or

                                     24   incomplete information. Plaintiff represented to Defendants that it would consult with its outside

                                     25   accounting firm regarding the sale of its assets to Digital Room, but Plaintiff failed to do so in an
                                     26   adequate and/or timely manner.

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                                      1                            FOURTEENTH AFFIRMATIVE DEFENSE

                                      2                                    (Unstated Additional Defenses)

                                      3          Defendants presently have insufficient knowledge and information on which to form a

                                      4   belief as to whether there exist additional, as yet unstated, affirmative defenses. Defendants

                                      5   reserve herein the right to assert additional affirmative defenses in the event that discovery

                                      6   indicates that such a defense would be appropriate.

                                      7                                                PRAYER

                                      8          WHEREFORE, these answering Defendants pray that Plaintiff take nothing by way of its

                                      9   Complaint on file herein, and that these Defendants be hence dismissed with its costs of suit

                                     10   herein, and for such other and further relief as the Court deems just and proper.

                                     11
Gordon Rees Scully Mansukhani, LLP




                                          August 17, 2023                           GORDON REES SCULLY MANSUKHANI, LLP
   275 Battery Street, Suite 2000




                                     12
     San Francisco, CA 94111




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                                                                                    By: /s/ TERRENCE J. BRASCH
                                     14                                                DION N. COMINOS
                                                                                       TERRENCE J. BRASCH
                                     15                                                Attorneys for Defendants
                                                                                       BEST & FLANAGAN, LLP and
                                     16                                                DANIEL L. GRIMSRUD

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                                        1                                     CERTIFICATE OF SERVICE

                                        2

                                        3          I, Heather Bowman, hereby certify that on August 17, 2023, the foregoing document was

                                        4   filed and served electronically using the CM/ECF system, and served by U.S. Mail on anyone

                                        5   unable to receive a notice of electronic filing.

                                        6

                                        7
                                                                                    /s/ Heather Bowman
                                        8                                          HEATHER BOWMAN
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     275 Battery Street, Suite 2000




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       San Francisco, CA 94111




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